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                   16
                                                   UNITED STATES DISTRICT COURT
                   17

                   18                           NORTHERN DISTRICT OF CALIFORNIA

                   19                                   SAN FRANCISCO DIVISION

                   20   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21      Individual and Representative Plaintiffs,    DEFENDANT’S SUPPORT FOR
                                                                        ADMINISTRATIVE MOTION TO CONSIDER
                   22          v.                                       WHETHER ANOTHER PARTY’S MATERIAL
                                                                        SHOULD BE SEALED [DKT. 301]
                   23   META PLATFORMS, INC., a Delaware
                        corporation;
                   24
                                                        Defendant.
                   25

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COOLEY LLP
ATTORNEYS AT LAW                                                                                 DEF’S SUPPORT FOR
                                                                                                   MOTION TO SEAL
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                    1          Pursuant to Civil Local Rule 79-5(f), Defendant Meta Platforms, Inc. (“Meta”) respectfully
                    2   supports Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should
                    3   Be Sealed (Dkt. 301).
                    4          Meta requests to seal the following documents in order to protect Meta’s confidential
                    5   business information:
                    6
                         Document                                                               Sealing Request
                    7
                         Plaintiffs’ Notice of Motion and Motion for Leave                Redacted Portions in Exhibit A
                    8    to Amend Consolidated Complaint (“Motion”) (Dkt.                  to Declaration of Nikki Vo (“Vo
                         300)                                                              Declaration)
                    9

                   10
                         Exhibit 1 to the Declaration of Joshua M. Stein                  Entire document
                         (“Stein Declaration”) (Dkt. 300-2)
                   11
                         Exhibit 2 to Stein Declaration (Dkt. 300-3)                      Entire document
                   12
                         Exhibit 3 to Stein Declaration (Dkt. 300-4)                      Entire document
                   13
                         Exhibit 5 to Stein Declaration (Dkt. 300-6)                      Entire document
                   14
                         Exhibit 6 to Stein Declaration (Dkt. 300-7)                      Entire document
                   15
                         Exhibit 7 to Stein Declaration (Dkt. 300-8)                      Entire document
                   16
                         Exhibit 8 to Stein Declaration (Dkt. 300-9)                      Entire document
                   17
                         Exhibit 9 to Stein Declaration (Dkt. 300-10)                     Entire document
                   18
                         Appendix A to Stein Declaration (Dkt. 300-11                     Redacted portions in Exhibit B
                   19                                                                      to Vo Declaration
                   20    Appendix B to Stein Declaration (Dkt. 300-12)                    Redacted portions in Exhibit C
                   21                                                                      to Vo Declaration

                   22   I.     LEGAL ARGUMENT
                   23          Though the presumption of public access to judicial proceedings and records is strong, it

                   24   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit

                   25   treats documents “attached to dispositive motions differently from records [i.e., documents]

                   26   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                   27   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For

                   28   non-dispositive motions, such as Plaintiffs’ Motion to Amend Case Management Schedule (Dkt.
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                    1   193), the “good cause” standard applies.              OpenTV v. Apple, No. 14-cv-01622-HSG,
                    2   2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015); Kamakana, 447 F.3d at 1180 (“A ‘good
                    3   cause’ showing will suffice to seal documents produced in discovery.”). The Federal Rules afford
                    4   district courts “flexibility in balancing and protecting the interests of private parties.” Kamakana,
                    5   447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-05330-HSG, 2020 WL 210318, at *8
                    6   (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963 (Fed. Cir. 2021) (finding good cause to seal
                    7   “confidential business and proprietary information”).
                    8          The Exhibits to the Stein Declaration consist of highly confidential internal discussions
                    9   among Meta employees, deposition testimony by Meta’s employees, and internal business
                   10   documents concerning Meta’s processes in developing its generative AI offerings. Many of the
                   11   documents contain detailed technical information and trade secret information. The redacted
                   12   portions of Plaintiffs’ Motion and Appendices A and B to the Stein Declaration – which consist of
                   13   Plaintiffs’ proposed Third Amended Consolidated Complaint and a redline of that complaint
                   14   against the operative complaint in this case – reflect, refer to, and discuss the information contained
                   15   in these documents.
                   16          As this information is highly confidential, Meta must request sealing of the documents and
                   17   redaction portions listed above. Meta takes steps to carefully protect the confidentiality of
                   18   information of this sort because the disclosure of such information has the potential to cause
                   19   significant competitive injury to Meta. See, e.g., Space Data Corp. v. Alphabet Inc., No. 16-CV-
                   20   03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding
                   21   party’s confidential and proprietary technical information sealable). To the extent the materials
                   22   Meta seeks to seal include non-confidential background information, sealing of such information
                   23   within the context of Plaintiffs’ Motion and proposed amended complaint is necessary to maintain
                   24   the confidentiality of Meta’s protected information, as the discussion necessarily implies conduct
                   25   by Meta which is highly sensitive, non-public, and which Meta has taken steps to keep confidential.
                   26   Accordingly, this sealing request is critical to protecting Meta’s confidential sensitive technical and
                   27   competitive information.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                            DEF’S SUPPORT FOR
                                                                          2                                   MOTION TO SEAL
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                    1          The specific basis for sealing these materials is outlined in the accompanying declaration
                    2   of Meta’s Director and Associate General Counsel, Nikki Vo. As outlined in Ms. Vo’s declaration,
                    3   disclosure of the protected information contained in these materials would work competitive harm
                    4   to Meta if this information is publicly disclosed. The Parties’ sealing requests and proposed
                    5   redactions are narrowly tailored to include only that information which would cause specific,
                    6   articulable harm, as identified in Ms. Vo’s declaration. In each instance, the harm to Meta
                    7   outweighs the public’s interest in disclosure. See, e.g., In re iPhone App. Litig., No. 11-md-02250-
                    8   LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting motion to seal where the
                    9   defendant’s interest in “maintaining the confidentiality of information about its technology and
                   10   internal business operations” outweighed that of the public in accessing such documents).
                   11   II.    CONCLUSION
                   12          For the foregoing reasons, Meta respectfully requests that the Court grant Plaintiffs’ Motion
                   13   to Consider Whether Another Party’s Material Should Be Sealed.
                   14

                   15   Dated: December 4, 2024                                 COOLEY LLP
                   16

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                                                                         3                                    MOTION TO SEAL
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                                                                      4                               MOTION TO SEAL
                                                                                                3:23-CV-03417-VC-TSH
